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        COUNSEL TO THE REAGOR-DYKES
        AUTO GROUP CREDITORS LIQUIDATING TRUST,
        SUCCESSOR IN INTEREST TO DEBTORS
        REAGOR-DYKES MOTORS, LP, et al.

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

             IN RE:                                                            §
                                                                               §
             REAGOR-DYKES MOTORS, LP, et al. 1                                 § Case No. 18-50214-rlj-11
                                                                               § Jointly Administered
                                                  Debtor.                      §

                            REAGOR-DYKES AUTO GROUP CREDITORS
                       LIQUIDATING TRUST’S OBJECTION TO CLAIMS OF THE
                   DEPARTMENT OF THE TREASURY - INTERNAL REVENUE SERVICE 2

               THE PROOFS OF CLAIM YOU FILED IN THE ABOVE-CAPTIONED
               BANKRUPTCY CASE IS SUBJECT TO AN OBJECTION.

               NO HEARING WILL BE CONDUCTED ON THIS OBJECTION TO CLAIMS
               UNLESS A WRITTEN RESPONSE IS FILED WITH THE CLERK OF THE
               UNITED STATES BANKRUPTCY COURT AT ROOM 306, GEORGE
               MAHON BUILDING, 1205 TEXAS AVENUE, LUBBOCK, TEXAS 79401
               BEFORE CLOSE OF BUSINESS ON JANUARY 7, 2022, WHICH IS AT LEAST
               30 DAYS FROM THE DATE OF SERVICE HEREOF.

               ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
               AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
        1 The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-
        Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes
        Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), (Reagor-Dykes III LLC, Case No.
        18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd (Case No. 18-50324) and Reagor Auto Mall
        I LLC (Case No. 18-50325).
        2
         Through this Objection, the Trust objects specifically to certain Claims (defined below) filed by Claimant (defined below)
        against the following Debtor entities: RD Motors, LP; RD Imports, LP; RD Snyder, LP; RD III, LLC; RD II, LLC; Reagor
        Auto Mall Ltd, as shown on Exhibits A through F.


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                 PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A
                 RESPONSE IS FILED, A HEARING MAY BE HELD WITH NOTICE TO
                 THE OBJECTING PARTY.

                 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
                 REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
                 UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
                 THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

                    Dennis Faulkner, in his capacity as Trustee of the Reagor-Dykes Auto Group Creditors

            Liquidating Trust (the “Trustee” and “Trust”, respectively), successor in interest to Reagor-Dykes

            Motors, LP, et al. as debtors and debtors-in-possession (the "Debtors") in the above-captioned

            jointly administered bankruptcy cases (“Bankruptcy Cases”), files this Objection to the Claim of the

            Department of the Treasury – Internal Revenue Service (the “Objection”). 3

                                              I.       EXECUTIVE SUMMARY

                   1.      Claimant Department of the Treasury – Internal Revenue Service (the “Claimant”)

        filed proofs of claim against various Debtors, which are set forth on Exhibits A through F attached

        hereto (the “Claims”).

                   2.      Exhibits A through F, attached hereto, identify the Claimant and its respective Claims

        by: (a) the name of the claimant; (b) debtor case number in which the Claims were filed; (c) the proof

        of claim number(s); (d) the date(s) the proof(s) of claim were filed; (e) the type(s) of proof(s) of claim

        filed—whether secured or unsecured; (f) the amount(s) of the Claim(s) as set forth on the filed proof(s)

        of claim; (g) the scheduled amount, if scheduled; 4 and (h) a description as to the bases for the claim.

        Additionally, Exhibits A through F identify the Trust’s proposed treatment of each of the Claims by




        3Capitalized terms not defined herein have the meaning as defined in the Third Amended Chapter 11 Plan of Liquidation for
        Reagor-Dykes Auto Group, as Modified [Docket No. 1897] (The “Plan”).
        4Recognizing that Claimant’s filing of the proof of claims referenced on Exhibits A and F supersedes the scheduled
        amounts, the scheduled amounts, if any, are nonetheless included on Exhibits A through F for purposes of reference and
        completeness.

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        indicating the Trust’s: (a) proposed treatment; (b) proposed priority of allowed Claim, if any; (c)

        proposed allowed amount, if any; and (d) reason(s) to allow/disallow.

                   3.   With the exception of the priority Claims that the Trust indicates it believes should

        be allowed on Exhibits A through F totaling $129,949.64, the Trust objects to each of the Claims

        listed on the attached Exhibits A through F because the amounts sought in the Claims do not match

        the Debtors’ books and records, no tax is due for the stated tax years based upon filed returns, and

        the Trust is not liable on the Claims in the amounts and/or priorities stated on the proofs of claim for

        the taxes or the subsequent penalties asserted because the subject Debtors were excepted from having

        to file returns under 26 U.S.C. § 6231(a)(1)(B), and/or reasonable cause exists excepting the Debtors

        from the assessment of penalties under the Internal Revenue Code. See 26 U.S.C. § 6698(a)(2).

                   4.   If the Claims are allowed in the current amounts set forth on the proof of claim as

        filed, the Claimant will receive an improper recovery and windfall, and the amount available for

        distribution to valid claims against the Trust will be unfairly diluted.

                   5.   Accordingly, with the exception of the priority Claims that the Trust indicates it

        believes should be allowed on Exhibits A through F totaling $129,949.64, the Trust objects to the

        Claimant’s Claims and requests that the Court disallow the Claims where indicated as listed on Exhibits

        A through F attached hereto.

                                      II.     JURISDICTION AND VENUE

                   6.   The Court has jurisdiction over the subject matter of this Objection pursuant to 28

        U.S.C. § 1334. This is a core matter pursuant to 28 U.S.C. § 157(b), which may be heard and finally

        determined by this Court. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                   7.   The statutory predicates for relief are Title 11 of the United States Code (the

        “Bankruptcy Code”) sections 105 and 502, Federal Rule of Bankruptcy Procedure 3007, and Local

        Bankruptcy Rule 3007-1.

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                                       III.    RELEVANT BACKGROUND

                   8.    On August 1, 2018 (the “RD6 Petition Date”), the following Debtors filed

        bankruptcy petitions under Chapter 11 of title 11 of the United States Code: Reagor-Dykes Motors,

        LP; Reagor-Dykes Imports, LP; Reagor-Dykes Amarillo, LP; Reagor Dykes Auto Company, LP;

        Reagor-Dykes Plainview, LP; Reagor-Dykes Floydada, LP (the “RD6 Debtors”). The RD6 Debtors

        operated multiple dealerships prepetition (collectively, the “RD6 Dealerships”).              The RD6

        Dealerships operated in the ordinary course and transacted business with consumers desiring to buy,

        lease, and/or trade in vehicles through July 31, 2018.

                   9.    On November 2, 2018 (the “RAM/Snyder Petition Date”), the following Debtors

        also filed for bankruptcy under Chapter 11 of the Bankruptcy Code: Reagor-Dykes II LLC, Reagor-

        Dykes III LLC, Reagor Auto Mall LP, Reagor Auto Mall I LLC, Reagor-Dykes Snyder, LP.

        Prepetition, Reagor-Dykes Snyder, LP operated a dealership known as Reagor-Dykes Chevrolet Buick

        GMC and Reagor Auto Mall, LP operated multiple additional dealerships. The RD6 Petition Date and

        the RAM/Snyder Petition Date are collectively referred to as the “Petition Dates.”

                   10.   In accordance with the two Petition Dates, the Court set two bar dates for all claimants

        in the Bankruptcy Cases for filing non-governmental proofs of claim as December 5, 2018 and April

        24, 2019, respectively, and January 28, 2019 and May 1, 2019 as the bar dates for filing claims of

        governmental units (the “Governmental Bar Dates”).

                   11.   On July 10, 2020, the Court entered the Order Confirming Debtors’ Third Amended Chapter

        11 Plan of Liquidation for Reagor-Dykes Auto Group, as Modified [Docket No. 1907] confirming the Third

        Amended Chapter 11 Plan of Liquidation for Reagor-Dykes Auto Group, as Modified [Docket No. 1897] (the

        “Plan”).




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                   12.    The Plan created the Reagor-Dykes Auto Group Creditors Liquidating Trust as

        successor in interest to the Debtors and named Dennis Faulkner, of Lain Faulkner and Co., as the

        Trustee. The Trustee is charged with the review, analysis and reconciliation of all filed claims.

                                     IV.    BASIS FOR RELIEF REQUESTED

        A.         Legal Standards

                   13.    Bankruptcy Code § 502(a) governs objections to claims and provides that “[a] claim

        or interest, proof of which is filed under section 501 of this title, is deemed allowed, unless a party in

        interest . . . objects.” 11 U.S.C. § 502(a). “If such objection to a claim is made, the court, after notice

        and hearing, shall determine the amount of such claim in lawful currency of the United States as of

        the date of the filing of the petition, and shall allow such claim in such amount.” Id. § 502(b).

                   14.    Federal Rule of Bankruptcy Procedure 3007 addresses the objections to claims. FED.

        R. BANKR. P. 3007. The burden of proof is on the objecting party to produce sufficient evidence to

        overcome the prima facie effect of the claim. See In re O’Conner, 153 F.3d 258, 260 (5th Cir. 1998). If

        the objecting party succeeds, the burden shifts to the party asserting the claim, who must then establish

        the validity of the claim by a preponderance of the evidence. Id. The ultimate burden of proof lies

        with the party who would bear the burden if the dispute arose outside of the bankruptcy context. See

        In re Armstrong, 320 B.R. 97 (Bankr. N.D. Tex. 2005).

        B.         Basis for Objection

                   15.    The Trust and the Trust’s professionals have reviewed, and continue to review, the

        proofs of claim filed in these Chapter 11 Cases as well as the Debtors’ Schedules of Assets and

        Liabilities. During this ongoing review, the Trust and its professionals have identified certain claims

        to which the Trust objects pursuant to section 502 of the Bankruptcy Code, Federal Rule of

        Bankruptcy 3007, and Local Rule 3007-1.



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                   16.   Claimant filed and subsequently amended—in many cases, several times both before

        and after the Bar Dates—multiple proofs of claim for taxes allegedly due from multiple Debtors.

        Exhibits A through F, attached hereto, identify the Claimant and pertinent information regarding each

        of its respective Claims, including each Claim’s proposed treatment, as explained in detail above. The

        Exhibits are split in accordance with the Claims filed by Claimant against separate Debtor entities as

        follows:


                         Exhibit Reference                                           Debtor
          Exhibit A                                           RD Motors, LP
          Exhibit B                                           RD Imports, LP
          Exhibit C                                           RD Snyder, LP
          Exhibit D                                           RD III, LLC
          Exhibit E                                           RD II, LLC
          Exhibit F                                           Reagor Auto Mall Ltd


                   17.   With the exception of the priority Claims that the Trust indicates it believes should be

        allowed on Exhibits A through F totaling $129,949.64, the Trust objects to the remaining Claims listed

        on the attached Exhibits A through F because the amounts sought in the Claims do not match the

        Debtors’ books and records, no tax is due for the stated tax years based upon filed returns, and the

        Trust is not liable on the Claims in the amounts and/or priorities stated on the proofs of claim for the

        taxes or the subsequent penalties asserted for the reasons stated herein.

                   18.   All penalties assessed by Claimant were filed in amendments to the proofs of claims

        after the Bar Dates—that is, the previously filed proofs of claims did not assert any penalties, and all

        penalties were asserted for the first time only after the respective Bar Dates. Although the penalties

        assessed on certain of the Claims were not added until after the Bar Dates, such penalties, based on

        the nature of these partnership tax Claims, had to be known to the Claimant at the time the initial

        proofs of claim were filed and should have been included in the original proofs of claim to give the

        Debtors fair notice of the penalties assessed.

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                   19.   Specifically, any such penalties are not based on the amount of the tax due and

        therefore are not based on and do not relate back to the original tax liability as asserted in the initial

        timely filed proof of claims; rather, any such penalties are calculated based on the number of partners

        in the partnership for purposes of assessing penalties. The number of partners was known to or

        ascertainable by Claimant at all relevant times prior to the Bar Dates and did not change. Therefore,

        at the time each of the initial proofs of claim was filed, Claimant knew of any alleged penalties (based

        on the number of partners in the partnership) and should have included any valid penalties in that

        proof of claim. Because Claimant had to know of any penalties at the time of filing the original proof

        of claim, Claims based on penalties in Claims amended after the Bar Dates cannot be allowed. See

        generally In re Kolstad, 928 F.2d 171 (5th Cir. 1991) (“Amendments do not vitiate the role of bar dates:

        indeed, courts that authorize amendments must ensure that corrections or adjustments do not set

        forth wholly new grounds of liability.”) (citation omitted)).

                   20.   Moreover, to the extent the untimely amended Claims assessing penalties are valid, the

        requisite “reasonable cause” exists excepting the Debtors from the penalties under the Internal

        Revenue Code. See 26 U.S.C. § 6698(a)(2) (explaining that penalties are assessed for untimely returns

        unless it is shown that the failure to file is due to reasonable cause). Section 6698(a)(2) allows a

        partnership to late file returns without a penalty if there is “reasonable cause.” See id. Here, there is

        more than ample reasonable cause for the Debtors’ failure to timely file partnership tax returns

        because at or around the time the return filings were due, the Debtors had filed the Bankruptcy Cases

        on an emergent basis, and were suddenly embroiled in multi-million litigation with Ford Motor Credit

        Company. The Court will certainly recall that there was no “soft landing” into these Bankruptcy cases:

        hundreds of the Debtors’ historical employees were let go or simply walked away, and the scant

        employees that remained were otherwise preoccupied in assisting the Court-appointed professionals

        in stabilizing what was left of the business and managing the chaotic early days of the Bankruptcy

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        Cases, and therefore no personnel or resources were available to file the returns. An FBI investigation

        was underway into criminal charges against certain employees, and a massive effort was undertaken

        to gather the Debtors’ business records from multiple dealership locations as rapidly as possible,

        making adequate indexing a challenge. In short, not only were the Debtors dealing with the onset of

        incredibly complex Chapter 11 Bankruptcy Cases which was, in and of itself, no small undertaking,

        but that endeavor was complicated by allegations of extensive fraud and, among other things, the

        additional complication that essential funds for case administration were either seized or limited. The

        time, attention and resources of the Debtors’ professionals were limited and strained.

                   21.      Moreover, under Internal Revenue Code section 6231(a)(1)(B), a partnership is

        excepted from filing a return as a partnership with ten (10) or fewer partners who are individuals. See

        26 U.S.C. § 6231(a)(1)(B) (excluding partnerships having 10 or fewer partners, each of whom is an

        individual). Although certain Debtor entities had a 1% partner that was an LLC, each LLC was held

        only by two of the limited partners, as explained in Exhibit G. Thus, in each instance the taxpayer

        was effectively owned by the same two/three individuals, and such partnerships may have been

        excepted from filing a return. 5

                   22.      In summary, with the exception of the priority Claims in the amount of $129,949.64,

        the Claims filed by Claimant should be disallowed. The partnership returns ultimately filed by or on

        behalf of the subject Debtors indicate no tax due, the penalty portion of the Claims was not asserted

        until long past the Bar Dates, and the Trust maintains that, in any event and regardless of when filed,

        either the subject Debtors were excepted from having to file returns under 26 U.S.C. § 6231(a)(1)(B),

        and/or reasonable cause exists excepting the Debtors from the assessment of penalties under the

        Internal Revenue Code. See 26 U.S.C. § 6698(a)(2)



        5
            Excerpts of the relevant Internal Revenue Code provisions are attached hereto as Exhibit H.

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                   23.   Accordingly, to avoid the possibility of improper recovery against the Trust and the

        improper dilution of a distribution to valid claims against the Trust, the Trustee requests that the Court

        grant this Objection and enter an Order: (a) granting this Objection; (b) allowing a priority tax claim

        in favor of Claimant in the amount of $129,949.64; and (c) disallowing all remaining Claims filed by

        Claimant.

                                       V.      RESERVATION OF RIGHTS


                   24.   The Trustee hereby reserve the right to amend, modify, and/or supplement this

        Objection at any time.

                                               VI.     CONCLUSION

                   WHEREFORE, based on the foregoing, Dennis Faulkner, in his capacity as the Trustee,

        respectfully requests that the Court (a) grant this Objection; (b) allow a priority tax claim in favor of

        Claimant in the amount of $129,949.64; (c) disallow all remaining Claims filed by Claimant; and (d)

        grant such other and further relief to which the Trust is justly entitled.

                                                 [Signature page to follow]




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        DATED: December 8, 2021              Respectfully submitted by:

                                             /s/ C. Ashley Ellis
                                             C. Ashley Ellis (TX 00794824)
                                             Emily F. Shanks (TX 24110350)
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                                             AUTO GROUP CREDITORS LIQUIDATING
                                             TRUST, SUCCESSOR IN INTEREST TO
                                             DEBTORS REAGOR-DYKES MOTORS, LP




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                                          CERTIFICATE OF SERVICE

                I certify that, on December 8, 2021, a true and correct copy of the foregoing Objection was
        served via ECF to all parties authorized to receive electronic notice in this case and on the Claimant’s
        counsel at the address listed below.

        Office of Acting U.S. Attorney Chad Meacham
        c/o Donna K. Webb
        Assistant United States Attorney
        1100 Commerce St., Ste. 300
        Dallas, TX 75242
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                                                       /s/ Emily F. Shanks
                                                       Emily F. Shanks




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                                                                            EXHIBIT A
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                                  RD Motors, LP ‐ Case #18‐50214

                                                                     PROOF OF CLAIMS                                                                                         PROPOSED TREATMENT
                                                Stretto    PACER                                Proof of                                                                                        Proposed to
                                                                 Date Proof of Proof of                      Scheduled                                                            Proposed to
   Name of Claimant        Debtor Case Number    Claim     Claim                                 Claim                                       Description          Proposed                         Allow       Reason to Allow / Disallow
                                                                  Claim Filed Claim Type                      Amount                                                              Allow Type
                                                Number    Number                                Amount                                                                                            Amount



  Dept of the Treasury ‐        18‐50214
                                                                                                              37,143.00 Schedule E                                Disallow                             0.00   Superseded by POC
Internal Revenue Service      RD Motors, LP


                                                                                                                             WT‐FICA 6/30/2018 & 9/30/2018;
                                                                               Priority Tax /
  Dept of the Treasury ‐        18‐50214                                                                                     FUTA 12/31/2018;                                                                 Superseded by claim
                                                  25       16‐1    8/30/2018      General       157,342.35                                                        Disallow                             0.00
Internal Revenue Service      RD Motors, LP                                                                                  PTRSHP 12/31/2017 & 12/31/2018;                                                  amendment
                                                                                Unsecured
                                                                                                                             Amended by POC 26
                                                                                                                             WT‐FICA 9/30/2018;
                                                                               Priority Tax /
  Dept of the Treasury ‐        18‐50214                                                                                     FUTA 12/31/2018;                                                                 Superseded by claim
                                                  26       16‐2     9/5/2018      General        53,838.39                                                        Disallow                             0.00
Internal Revenue Service      RD Motors, LP                                                                                  PTRSHP 12/31/2017 & 12/31/2018;                                                  amendment
                                                                                Unsecured
                                                                                                                             Amended by POC 196

                                                                               Priority Tax /
  Dept of the Treasury ‐        18‐50214                                                                                     PTRSHP 12/31/2017 & 12/31/2018                                                   Superseded by claim
                                                 196       16‐3    4/23/2019      General          200.00                                                         Disallow                             0.00
Internal Revenue Service      RD Motors, LP                                                                                  Amended by POC 235                                                               amendment
                                                                                Unsecured


                                                                                                                                                                                                              2018 Partnership return filed;
  Dept of the Treasury ‐        18‐50214                                         General                                     PTRSHP 12/31/2018 ‐ estimated tax;                    General                    No tax due; Reasonable cause
                                                 235       16‐4     6/2/2020                      7,300.00                                                        Disallow                             0.00
Internal Revenue Service      RD Motors, LP                                     Unsecured                                    Penalties                                            Unsecured                   for late filing;
                                                                                                                                                                                                              Penalty asserted after bar date.

                                                                                                                                                                         18‐50214
                                                                                                                                                                                                       0.00
                                                                                                                                                                   R‐D Motors, LP ‐ TOTAL




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                                                                            EXHIBIT B
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                                 RD Imports, LP ‐ Case #18‐50215

                                                                     PROOF OF CLAIMS                                                                                                PROPOSED TREATMENT
                                                Stretto    PACER                                 Proof of                                                                                               Proposed to
                                                                 Date Proof of Proof of                      Scheduled                                                                   Proposed to
   Name of Claimant        Debtor Case Number    Claim     Claim                                  Claim                                        Description               Proposed                          Allow       Reason to Allow / Disallow
                                                                  Claim Filed Claim Type                      Amount                                                                     Allow Type
                                                Number    Number                                 Amount                                                                                                   Amount



  Dept of the Treasury ‐       18‐50215
                                                                                                              26,594.00 Schedule E                                       Disallow                              0.00   Superseded by POC
Internal Revenue Service     RD Imports, LP


                                                                                                                             WT‐FICA 9/30/2018;
                                                                                Priority Tax /
  Dept of the Treasury ‐       18‐50215                                                                                      FUTA 12/31/2018                                                                          Superseded by claim
                                                  7         6‐1     9/7/2018       General        2,500.00                                                               Disallow                              0.00
Internal Revenue Service     RD Imports, LP                                                                                  PTRSHP 12/31/2017 & 12/31/2018;                                                          amendment
                                                                                 Unsecured
                                                                                                                             Amended by POC 63

                                                                                Priority Tax /                               FUTA 12/31/2018;
  Dept of the Treasury ‐       18‐50215                                                                                                                                                                               Superseded by claim
                                                  63        6‐2    12/21/2018      General        1,000.00                   PTRSHP 12/31/2017;                          Disallow                              0.00
Internal Revenue Service     RD Imports, LP                                                                                                                                                                           amendment
                                                                                 Unsecured                                   Amended by POC 76


                                                                                Priority Tax /                               Int to petition date WT‐FICA 9/30/19;
  Dept of the Treasury ‐       18‐50215                                                                                                                                                                               Superseded by claim
                                                  76        6‐3    9/27/2019       General        1,545.78                   Penalty to petition WT‐FICA 3/30/19;        Disallow                              0.00
Internal Revenue Service     RD Imports, LP                                                                                                                                                                           amendment
                                                                                 Unsecured                                   Amended by POC 80


  Dept of the Treasury ‐       18‐50215                                                                                      WT‐FICA 09/30/2018                                                                       3rd Qtr 2018 Form 941 interest
                                                 80‐A       6‐4    7/29/2020    Priority Tax         55.72                                                                Allow          Priority Tax         55.72
Internal Revenue Service     RD Imports, LP                                                                                  Interest to petition date                                                                amt owed


                                                                                                                             WT‐FICA 03/30/2019
                                                                                  General                                                                                                 General                     Penalties first asserted after bar
                                                 80‐B                                             1,490.06                   Penalty to date of petition on Pri claims   Disallow                              0.00
                                                                                 Unsecured                                                                                               Unsecured                    date.
                                                                                                                             Penalty to date of petition on GUC

                                                                                                                                                                                                                      2018 Partnership return filed;
  Dept of the Treasury ‐       18‐50215                                                                                                                                                                               No tax due; Reasonable cause
                                                  ‐‐       67‐1    7/30/2021       Admin          7,200.00                   Penalty on PTRSHP 12/31/2018                Disallow                              0.00
Internal Revenue Service     RD Imports, LP                                                                                                                                                                           for late filing;
                                                                                                                                                                                                                      Claim filed after bar date.

                                                                                                                                                                                18‐50215
                                                                                                                                                                                                              55.72
                                                                                                                                                                          RD Imports, LP ‐ TOTAL




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                                                                            EXHIBIT C
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                                  RD Snyder, LP ‐ Case #18‐50321
           .
                                                                     PROOF OF CLAIMS                                                                                                 PROPOSED TREATMENT
                                                Stretto    PACER                               Proof of                                                                                                  Proposed to
                                                                 Date Proof of Proof of                     Scheduled                                                                     Proposed to
   Name of Claimant        Debtor Case Number    Claim     Claim                                Claim                                       Description                   Proposed                          Allow       Reason to Allow / Disallow
                                                                  Claim Filed Claim Type                     Amount                                                                       Allow Type
                                                Number    Number                               Amount                                                                                                      Amount



  Dept of the Treasury ‐        18‐50321
                                                                                                              1,902.00 Schedule E                                         Disallow                              0.00   Superseded by POC
Internal Revenue Service      RD Snyder, LP


                                                                                                                            WH‐FICA 12/31/16, 09/30/18 & 12/31/18
  Dept of the Treasury ‐        18‐50321                                                                                    FUTA 12/31/2016 & 12/31/2018                                                               Superseded by claim
                                                  17       16‐1    12/13/2018   Priority Tax   145,310.25                                                                 Disallow                              0.00
Internal Revenue Service      RD Snyder, LP                                                                                 PTRSHP 12/31/2017 & 12/31/2018                                                             amendment
                                                                                                                            Amended by POC 53

                                                                                                                                                                                                                       Estimated amounts; no
  Dept of the Treasury ‐        18‐50321                                                                                    WT‐FICA 12/31/2016
                                                  53       16‐2    8/19/2020    Priority Tax      200.00                                                                  Disallow        Priority Tax          0.00   documentation; debtor has no
Internal Revenue Service      RD Snyder, LP                                                                                 FUTA 12/31/2016
                                                                                                                                                                                                                       record of tax owed


                                                                                                                                                                                                                       2018 Partnership return filed;
                                                                                 General                                    PTRSHP 12/31/2017 & 12/31/2018 estimates;                      General                     No tax due; Reasonable cause
                                                                                                 2,746.28                                                                 Disallow                              0.00
                                                                                Unsecured                                   Penalty to petition date on Priority claims                   Unsecured                    for late filing;
                                                                                                                                                                                                                       Penalty asserted after bar date.

                                                                                                                                                                                  18‐50221
                                                                                                                                                                                                                0.00
                                                                                                                                                                            RD Snyder, LP ‐ TOTAL




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                                                                              EXHIBIT D
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                                    RD III, LLC ‐ Case #18‐50322

                                                                     PROOF OF CLAIMS                                                                             PROPOSED TREATMENT
                                                Stretto    PACER                            Proof of                                                                                Proposed to
                                                                 Date Proof of Proof of                 Scheduled                                                     Proposed to
   Name of Claimant        Debtor Case Number    Claim     Claim                             Claim                                     Description    Proposed                         Allow       Reason to Allow / Disallow
                                                                  Claim Filed Claim Type                 Amount                                                       Allow Type
                                                Number    Number                            Amount                                                                                    Amount

                                                                                                                                                                                                  Estimated 2013 amount; Debtor
                                                                                                                                                                                                  believes there are no amounts
  Dept of the Treasury ‐       18‐50322                                          General                                                                               General
                                                  4         4‐1    12/13/2018                  100.00                   Estimated 12/31/2013 PTRSHP   Disallow                             0.00   owed; formed 9/03/2013 so
Internal Revenue Service       RD III, LLC                                      Unsecured                                                                             Unsecured
                                                                                                                                                                                                  probably never filed stub period
                                                                                                                                                                                                  return.


                                                                                 General                                                                               General                    2017 Partnership return filed;
                                                                                               100.00                   Estimated 12/31/2017 PTRSHP   Disallow                             0.00
                                                                                Unsecured                                                                             Unsecured                   No tax due.



                                                                                 General                                                                               General                    2018 Partnership return filed;
                                                                                               100.00                   Estimated 12/31/2018 PTRSHP   Disallow                             0.00
                                                                                Unsecured                                                                             Unsecured                   No tax due.


                                                                                                                                                              18‐50221
                                                                                                                                                                                           0.00
                                                                                                                                                          RD III, LP ‐ TOTAL




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                                                                               EXHIBIT E
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                                     RD II, LLC ‐ Case #18‐50323

                                                                     PROOF OF CLAIMS                                                                             PROPOSED TREATMENT
                                                Stretto    PACER                            Proof of                                                                                Proposed to
                                                                 Date Proof of Proof of                 Scheduled                                                     Proposed to
   Name of Claimant        Debtor Case Number    Claim     Claim                             Claim                                     Description    Proposed                         Allow       Reason to Allow / Disallow
                                                                  Claim Filed Claim Type                 Amount                                                       Allow Type
                                                Number    Number                            Amount                                                                                    Amount



  Dept of the Treasury ‐       18‐50323                                          General                                                                               General                    2017 Partnership return filed;
                                                  4         4‐1    12/13/2018                  100.00                   Estimated 12/31/2017 PTRSHP   Disallow                             0.00
Internal Revenue Service       RD II, LLC                                       Unsecured                                                                             Unsecured                   No tax due.



                                                                                 General                                                                               General                    2018 Partnership return filed;
                                                                                               100.00                   Estimated 12/31/2018 PTRSHP   Disallow                             0.00
                                                                                Unsecured                                                                             Unsecured                   No tax due.


                                                                                                                                                              18‐50221
                                                                                                                                                                                           0.00
                                                                                                                                                         RD II, LLC ‐ TOTAL




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                                                                         EXHIBIT F (1 of 2)
                                                    REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                               Reagor Auto Mall LTD ‐ Case #18‐50324

                                                            PROOF OF CLAIM AND/OR PAYMENT NOTICE DETAILS                                                                       PROPOSED TREATMENT
                                                  Stretto      PACER                                Proof of                                                                                       Proposed to
                                                                     Date Proof of Proof of                      Scheduled                                                          Proposed to
   Name of Claimant        Debtor Case Number      Claim       Claim                                 Claim                                      Description         Proposed                          Allow          Reason to Allow / Disallow
                                                                      Claim Filed Claim Type                      Amount                                                            Allow Type
                                                  Number      Number                                Amount                                                                                           Amount


  Dept of the Treasury ‐        18‐50324
                                                                                                                     1,902.00     Schedule E                        Disallow                                 0.00   Superseded by POC
Internal Revenue Service   Reagor Auto Mall LTD

                                                                                                                                  Estimated Taxes:
                                                                                                                                  Excise 12/31/2012 ‐ 12/31/2018
                                                                                   Priority Tax /
  Dept of the Treasury ‐        18‐50324                                                                                          WT‐FICA 9/30/2018 & 12/31/2018                                                    Superseded by claim
                                                    28          27‐1    12/13/2018    General                    1,392,982.56                                       Disallow                                 0.00
Internal Revenue Service   Reagor Auto Mall LTD                                                                                   FUTA 12/31/2018                                                                   amendment
                                                                                    Unsecured
                                                                                                                                  PTRSHP 12/31/2017 & 12/31/2018
                                                                                                                                  Amended by POC 98
  Dept of the Treasury ‐        18‐50324
                                                    98          27‐2    10/8/2019    Priority Tax      529.39                     Estimated 12/31/2015 Excise Tax
Internal Revenue Service   Reagor Auto Mall LTD
                                                                                     Priority Tax      525.07                     Estimated 03/31/2016 Excise Tax

                                                                                     Priority Tax      416.26                     Estimated 09/30/2016 Excise Tax

                                                                                     Priority Tax      412.10                     Estimated 12/31/2016 Excise Tax
                                                                                                                                                                                                                    No supporting documentation is
                                                                                     Priority Tax      408.11                     Estimated 03/31/2017 Excise Tax
                                                                                                                                                                                                                    provided relating to the Excise
                                                                                                                                                                    Disallow        Priority Tax      0.00
                                                                                     Priority Tax     1,034.23                    Estimated 09/30/2017 Excise Tax                                                   Taxes; Debtor does not believe
                                                                                                                                                                                                                    these taxes are owed.
                                                                                     Priority Tax     1,023.88                    Estimated 12/31/2017 Excise Tax

                                                                                     Priority Tax     1,013.11                    Estimated 03/31/2018 Excise Tax

                                                                                     Priority Tax     1,996.20                    Estimated 09/30/2018 Excise Tax

                                                                                     Priority Tax      701.77                     Estimated 12/31/2018 Excise Tax


                                                                                                                                                                                                                    2018 3rd Qtr Form 941 ‐ taxes
                                                                                     Priority Tax   129,861.67                    Payroll Tax ‐ 9/30/2018 WT‐FICA    Allow          Priority Tax    129,861.67
                                                                                                                                                                                                                    owed




                                                                                     Priority Tax        32.25                    Payroll Tax ‐ 12/31/2018 FUTA      Allow          Priority Tax         32.25      2018 Form 940 ‐ taxes owed


                                                                                       General
                                                                                                       100.00                     Estimated 12/31/2012 Excise Tax
                                                                                      Unsecured
                                                                                       General
                                                                                                       100.00                     Estimated 03/31/2013 Excise Tax
                                                                                      Unsecured
                                                                                       General
                                                                                                       105.61                     Estimated 09/30/2013 Excise Tax
                                                                                      Unsecured
                                                                                       General                                                                                                                      No tax or penalties due;
                                                                                                       104.78                     Estimated 12/31/2013 Excise Tax
                                                                                      Unsecured                                                                                                                     No supporting documentation is
                                                                                       General                                                                                       General
                                                                                                       104.00                     Estimated 03/31/2014 Excise Tax   Disallow                          0.00          provided relating to the Excise
                                                                                      Unsecured                                                                                     Unsecured
                                                                                       General                                                                                                                      Taxes; Debtor does not believe
                                                                                                       258.46                     Estimated 09/30/2014 Excise Tax                                                   these taxes are owed.
                                                                                      Unsecured
                                                                                       General
                                                                                                       256.50                     Estimated 12/31/2014 Excise Tax
                                                                                      Unsecured
                                                                                       General
                                                                                                       254.63                     Estimated 03/31/2015 Excise Tax
                                                                                      Unsecured
                                                                                       General
                                                                                                       533.41                     Estimated 09/30/2015 Excise Tax
                                                                                      Unsecured




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                                                                EXHIBIT F (2 of 2)
                                           REAGOR‐DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                      Reagor Auto Mall LTD ‐ Case #18‐50324


                                                  PROOF OF CLAIM AND/OR PAYMENT NOTICE DETAILS                                                                            PROPOSED TREATMENT


                                        Stretto      PACER                             Proof of                                                                                              Proposed to
                                                           Date Proof of Proof of                  Scheduled                                                                   Proposed to
Name of Claimant   Debtor Case Number    Claim       Claim                              Claim                                     Description                  Proposed                         Allow        Reason to Allow / Disallow
                                                            Claim Filed Claim Type                  Amount                                                                     Allow Type
                                        Number      Number                             Amount                                                                                                  Amount


                                                                           General                                                                                              General                     2017 Partnership return filed;
                                                                                          100.00                   Estimated 12/31/2017 PTRSHP                 Disallow                              0.00
                                                                          Unsecured                                                                                            Unsecured                    No taxes due.
                                                                           General                                                                                              General                     2018 Partnership return filed;
                                                                                          100.00                   Estimated 12/31/2018 PTRSHP                 Disallow                              0.00
                                                                          Unsecured                                                                                            Unsecured                    No taxes due.
                                                                                                                                                                                                            Reasonable cause for late filing;
                                                                                                                                                                                                            Penalty amount seems
                                                                                                                                                                                                            excessive; No detail support
                                                                           General                                 Penalty to date of petition on unsecured                     General
                                                                                       56,169.20                                                               Disallow                              0.00   provided to reflect how the
                                                                          Unsecured                                priority claims                                             Unsecured
                                                                                                                                                                                                            amount was calculated and on
                                                                                                                                                                                                            what tax; Claim filed after the
                                                                                                                                                                                                            bar date.
                                                                                                                                                                        18‐50224
                                                                                                                                                                                               129,893.92
                                                                                                                                                              Reagor Auto Mall LTD ‐ TOTAL



                                                                                                                                                               GRAND TOTAL (all Debtors)       129,949.64




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                                                                   EXHIBIT G
                                           REAGOR-DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                Ownership Summary for Partnership Penalty Waiver



Debtor                                Individual     %      Individual    %       Individual    %                LLC (a)           %

Reagor Auto Mall, LTD                 Bart Reagor   47%     Rick Dykes   47%     David Thomas   5%       Reagor Auto Mall I, LLC   1%
Reagor Dykes Imports                  Bart Reagor   49.5%   Rick Dykes   49.5%        ---       ---      Reagor Auto Mall I, LLC   1%
Reagor Dykes Motors LP                Bart Reagor   49.5%   Rick Dykes   49.5%        ---       ---      Reagor Auto Mall I, LLC   1%
Reagor Dykes Snyder, L.P.             Bart Reagor   49.5%   Rick Dykes   49.5%        ---       ---      Reagor Auto Mall I, LLC   1%




Footnotes:
(a) Reagor Auto Mall I, LLC owners:
        Bart Reagor - 50%
        Rick Dykes - 50%
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                                   EXHIBIT H
                        INTERNAL REVENUE CODE EXCERPTS

 6698(a) General Rule —

 In addition to the penalty imposed by section 7203 (relating to willful failure to file
 return, supply information, or pay tax), if any partnership required to file a return
 under section 6031, or a partnership adjustment tracking report under section
 6226(b)(4)(A), for any taxable year—

 6698(a)(1) — fails to file such return, or such report, at the time prescribed therefor
 (determined with regard to any extension of time for filing), or

 6698(a)(2) — files a return or a report which fails to show the information required
 under section 6031 or 6226(b)(4)(A), respectively, such partnership shall be liable
 for a penalty determined under subsection (b) for each month (or fraction thereof)
 during which such failure continues (but not to exceed 12 months), unless it is shown
 that such failure is due to reasonable cause.



 6231. Definitions and special rules

       (a) Definitions. --For purposes of this subchapter—

 6231(a)(1) Partnership.—

 6231(a)(1)(A) In general. –

 Except as provided in subparagraph (B), the term “partnership” means any
 partnership required to file a return under section 6031(a).

 6231(a)(1)(B) Exception for small partnerships.—

 6231(a)(1)(B)(i) In general. --The term “partnership” shall not include any
 partnership having 10 or fewer partners each of whom is an individual (other than a
 non-resident alien), a C corporation, or an estate of a deceased partner. For
 purposes of the preceding sentence, a husband and wife (and their estates) shall be
 treated as 1 partner.

 6231(a)(1)(B)(ii) Election to have subchapter apply. --A partnership (within the
 meaning of subparagraph (A)) may for any taxable year elect to have clause (i) not
 apply. Such election shall apply for such taxable year and all subsequent taxable
 years unless revoked with the consent of the Secretary.
